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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                  Plaintiff,

          v.                                           Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                  Defendant.


               MOTION FOR ADMISSION OF AARON T. CHIU PRO HAC VICE

       Pursuant to LCvR 83.2(c) and LCrR 44.1(c), Non-Party Petitioner Apple Inc. (“Apple”)

moves for the admission pro hac vice of attorney Aaron T. Chiu.

       In support of this motion, Apple submits the accompanying Declaration of Aaron T. Chiu

and a certificate of good standing from the Supreme Court of California. These documents

demonstrate that Mr. Chiu is an active member in good standing of the following courts and bars:

California, Supreme Court of the United States, United States Court of Appeals for the Second

Circuit, United States Court of Appeals for the Ninth Circuit, United States District Court for the

Northern District of California, and United States District Court for the District of Colorado.

       This Motion is signed and supported by Gregory G. Garre, an active member of the bar of

this Court.

 Date: December 20, 2024                           Respectfully submitted,

                                                   /s/ Gregory G. Garre
                                                   Gregory G. Garre (D.C. Bar No. 440779)
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                                    Counsel for Apple Inc.




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